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                     IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,

                v.                                  MISC NO.    a.11-ine,-31s7o-      un12)
SOUTHERN CLASSIC FOOD
GROUP LLC,
BRUNDIDGE,AL,

                       Garnishee,

ELIZABETH,HELMS,

                       Defendant.


                                     WRIT OF GARNISHMENT

GREETINGS TO:          SOUTHERN CLASSIC FOOD GROUP LLC
                       1000 MAGNOLIA BLVD.
                       BRUNDIDGE,AL 36010  -

       An Application for a Writ of Garnishment against the property of Elizabeth L. Helms,

defendant, has been filed with this Court. A Judgment has been entered against the above-named

defendant in the amount of $146,678.54, plus 4.410% interest starting March 9, 2007. The

balance due on the Judgment as of May 23,2019 is $199,264.02.

       You are required by law to answer in writing, under oath, within ten (10) days, whether-

or-not you have in your custody, control or possession of any property owned by the debtor,

including non-exempt, disposal earnings.

       Please state whether-or-not you anticipate paying the debtor any future payments and

whether such payments are weekly, bi-weekly or monthly.
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       You must file the original written Answer to this Writ within ten (10) days of your

receipt of this Writ with the United States District Clerk at: Clerk, U. S. District Court,

Middle District of Alabama,One Church Street, Suite B-110, Montgomery,Alabama 36104.

Additionally, you are required by law to serve a copy of your Answer upon the debtor at:

1868 County Road 3341, Brundidge, Alabama,36010 and upon the United States Attorney,

Post Office Box 197, Montgomery, Alabama 36101.

       Under the law,there is property, which is exemptfrom this Writ ofGarnishment. Property

which is exempt and which is not subject to this Order is listed on the attached Debt Collection

Notice.

       Pursuant to Title 15 U.S.C. §1674, a Garnishee is prohibited from discharging a defendant

from employment by-reason-ofthe fact that his earnings have been subject to garnishment.

       If you fail to answer this Writ or to withhold property in accordance with this Writ, the

United States of America may petition the Court for an Order requiring you to appear before the

Court. If you fail to appear or do appear and fail to show good cause why you failed to comply

with this Writ,the Court may enter a Judgment against you for the value ofthe debtor's non-exempt

property. It is unlawful to pay or deliver to the defendant any item attached by this Writ.

                                                 Debra P.Mackett
                                             UNITED STATES DISTRICT CLERK
                                                                by% 0.1,40./
                                                                                5-3D-11
